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                              IN THE UNITED STATES DISTRICT COURT FOR THE
                                      EASTERN DISTRICT OF MISSOURI
                                            EASTERN DIVISION

       THE UNITED STATES OF AMERICA,                       )
                                                           )
                            Plaintiff,                     )
                                                           )
       V.                                                  )           Case No. 4: 19CR00395 RL W
                                                           )
       BRYAN G. VONDERAHE,                                 )
                                                           )
   fiECIEIVED ~             Defendant.                     )

    MAY 1 7 2019
   ',J.0 U{Strict Court                       NOTICE OF LIS PENDENS                                       ,
•::astern l)istrict of MO           ·                                     .
                NOTICE JS HEREBY GIVEN that the foregoing action has been commenced and is now _

       pending in the United States District Court for the Eastern District of Missouri between the parties

       named above. The property whose title is at issue in that action is located at 1943 Windy Hill Road,

       St. Louis, Missouri 63122 being further described as:

                 (a) All that tract or parcel ofland situate and being in St. Louis County, State of Missouri,
                 and being more particularly described as follows: Lot 2 of Highland Terrace Subdivision
                 of Lot 21 and Part of Lots 22 & 23, according to the plat thereof recorded in Plat Book
                 359 Page(s) 90 of the St. Louis County records.

       with all appurtenances, improvements ancl fixtures thereon.

                 The action, which is criminal action against defendant Bryan G. Vonderahe, seeks that any

       right, title, and interest in the property at issue be condemned and forfeited to the United States of

       America and as such is an action affecting the title to said property.
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       For further information concerning this proceeding, reference may be had to the records of

the Clerk of the United States District Court for the Eastern District of Missouri, Eastern Division,

St. Louis, Missouri.



Dated: May 16, 2019                                 Respectfully submitted,

                                                    JEFFREY B. JENSEN
                                                    United States Attorney

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